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                UNITED STATES DISTRICT COURT
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                SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA,          )

v.    )      Case                      No . CR407-042

ISIDRO PULIDO-TEJEDO, an d
JOSE MARTIN OROZCO-CUELLAR, )

      Defendants .

                                ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court .

      SO ORDERED this day of 7 , 2007 .




                                         UNITED STAT S DISTRICT JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA
